Case 1:15-cv-00934-TSE-JFA Document 15-2 Filed 12/02/15 Page 1 of 2 PagelD# 149

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viext=3D"edit" datas3D"1" /> </o:shapelayout></xsml><![endif]~-> </head>
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EXHIBIT

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